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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
__________________________________________
                                          |
DENNIS D’ANDREA,                          |
                                          |
                              Plaintiff,  |                     SUPPLEMENTAL
                                          |                     DECLARATION
-v-                                       |
                                          |                     Civ. Action No.:
ENCOMPASS INSURANCE COMPANY               |                     1:15-cv-00467-MJR
OF AMERICA,                               |
                                          |
                              Defendant.  |
__________________________________________|

          JUDITH BURTON, under penalty of perjury and pursuant to 28 U.S.C. § 1746, declares

the following to be true and correct:


          1.        Due to my mental health issues, I take a number of prescribed medications,

including anti-depressants and mood stabilizers.

          2.        A list of my prescribed medications, indicating the name and dosage, is annexed

hereto as Exhibit A.



                                                        s/ Judith Burton
                                                        _______________________________
                                                        Judith Burton


Sworn to me this
19th day of July, 2018


Heather Hayne
__________________________
Notary Public
      HEATHER ANNE HAYNE
NOTARY PUBLIC STATE OF NEW YORK
       NO. 01HA6238598
     Qualified in Erie County
My Commission Expires April 11, 2019
